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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC                        §
                                                  §
       Plaintiff,                                 §    CIVIL ACTION NO. 2:17-cv-00029-JRG
                                                  §
       v.                                         §    JURY TRIAL DEMANDED
                                                  §
TECHNOGYM USA CORP.,                              §
                                                  §
                                                  §
       Defendant.                                 §



     MOTION OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)


       The plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i),

hereby dismiss all claims in this action WITH PREJUDICE against defendant Technogym USA

Corp. with each Party to bear its own costs, expenses and attorney’s fees. Prior to the filing of this

notice, defendant Technogym USA Corp. has yet to file an answer or motion for summary

judgement.




 Dated: May 17, 2017                            Respectfully Submitted,

                                                /s/ Eugenio J. Torres-Oyola
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                                              ATTORNEYS FOR PLAINTIFF
                                              Symbology Innovations, LLC




                                CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was filed electronically in compliance with

Local Rule CV-5(a). As such, this document was served on all counsel who are deemed to have

consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P. 5(d) and

Local Rule CV-5(d) and (e), all other counsel of record not deemed to have consented to electronic

service were served with a true and correct copy of the foregoing by email, on this 17th day of

May, 2017.

                                                /s/ Eugenio J. Torres-Oyola
                                                  Eugenio J. Torres-Oyola
